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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION
UNITED STATES OF AMERICA, ) CASE NO. 3:21-CR-00374-MMC
Plaintiff, VERDICT FORM
v.
JOSEPH HUFFAKER,
Defendant.

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COUNT ONE:

1. We, the Jury, in the above-captioned case, unanimously find the defendant (place an X on

the appropriate line),

x GULTY

NOT GUILTY

of the crime of crime of conspiracy to commit extortion under color of official right in violation of 18

U.S.C. § 1951, as charged.

COUNT TWO:

2. We, the Jury, in the above-captioned case, unanimously find the defendant (place an X on

the appropriate line),

x GUILTY

NOT GUILTY

of the crime of extortion under color of official right in violation of 18 U.S.C. § 1951, as charged.

COUNT THREE:

3. We, the Jury, in the above-captioned case, unanimously find the defendant (place an X on

the appropriate line),

xX GUILTY

NOT GUILTY

of the crime of conspiracy to falsify records in a federal investigation in violation of 18 U.S.C. § 371, as

charged.

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COUNT FOUR:
4, We, the Jury, in the above-captioned case, unanimously find the defendant (place an X on
the appropriate line),
xX GUILTY
NOT GUILTY

of the crime of falsifying records in a federal investigation in violation of 18 U.S.C. § 1519, as charged.

COUNT FIVE:
5. We, the Jury, in the above-captioned case, unanimously find the defendant (place an X on
the appropriate line),
x GUILTY
NOT GUILTY

of the crime of conspiracy to impersonate a federal officer in violation of 18 U.S.C. § 371, as charged.

COUNT SEX:
6. We, the Jury, in the above-captioned case, unanimously find the defendant (place an X on
the appropriate line),
KK GUILTY
NOT GUILTY

of the crime of impersonating a federal officer in violation of 18 U.S.C. § 912, as charged.

DATED: 2/11 29 re ~

Om LIF

FOREPERSON

